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                      UNITED STATES COURT OF APPEALS                       FILED
                              FOR THE NINTH CIRCUIT                         NOV 1 2023
                                                                        MOLLY C. DWYER, CLERK
                                                                         U.S. COURT OF APPEALS
CUNG LE; et al.,                                  No. 23-80074

                  Plaintiffs-Respondents,         D.C. No. 2:15-cv-01045-RFB-BNW
                                                  District of Nevada, Las Vegas
 v.
                                                  ORDER
ZUFFA, LLC, D/B/A Ultimate Fighting
Championship and UFC,

                  Defendant-Petitioner.

Before: W. FLETCHER and BENNETT, Circuit Judges.

         The motion of the Chamber of Commerce of the United States of America

for leave to file an amicus brief in support of the petition (Docket Entry No. 3) is

granted. The parties’ requests to file a reply and sur-reply concerning the petition

(Docket Entry Nos. 6, 8) are granted.

         The petition for permission to appeal is denied. See Fed. R. Civ. P. 23(f);

Chamberlan v. Ford Motor Co., 402 F.3d 952, 959-60 (9th Cir. 2005) (describing

factors this court considers in analyzing a Rule 23(f) petition).




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